Case 1:23-cv-00780-CFC Document 15-1 Filed 08/29/23 Page 1 of 1 PageID #: 177




          CERTIFICATION BY COUNSEL TO BE ADMITTED PRO HAC VICE


       Pursuant to Local Rule 83.5, I certify that I am eligible for admission to this Court, am

admitted, practicing and in good standing as a member of the Bar of California and pursuant to

Local Rule 83.6, submit to the disciplinary jurisdiction of this Court for any alleged misconduct

which occurs in the preparation or course of this action. I also certify that I am generally familiar

with this Court’s Local Rules. In accordance with Standing Order for District Court Fund effective

7/23/09, I further certify that the annual fee of $25.00 has been paid to the Clerk of Court, or, if

not paid previously, the fee payment will be submitted to the Clerk’s Office upon the filing of this

motion.



Date: August 29, 2023                  /s/ Eric Meckley
                                       Eric Meckley
                                       Morgan, Lewis & Bockius LLP
                                       One Market, Spear Tower
                                       San Francisco, CA 94105
                                       415.442.1000
                                       eric.meckley@morganlewis.com
